AO 245B (Rev. 8/96) Sheet 1 - Judgment in a Criminal Case

                                 United States District Court
                                                District of New Mexico

          UNITED STATES OF AMERICA                           Judgment in a Criminal Case
                      V.
               Tiffany Robinson
                                                             (For Offenses Committed On or After November 1, 1987)
                                                             Case Number: 1:03CR01224-001MCA
                                                             Defense Attorney: Joe Romero, Jr., Appointed
THE DEFENDANT:
c  pleaded guilty to count(s) I and II of Indictment
d  pleaded nolo contendere to count(s) , which was accepted by the court.
d  was found guilty of count(s) after a plea of not guilty.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):

Title and          Nature of Offense                                                   Date Offense       Count
Section                                                                                 Concluded        Number(s)
21 U.S.C. Sec. Distribution of Less Than 50 Grams of a Mixture and                       04/10/2002           I
841(b)(1)(C) Substance Containing a Detectable Amount of
               Methamphetamine

21 U.S.C. Sec. Distribution of Less Than 50 Grams of a Mixture and                       05/21/2002          II
841(b)(1)(C) Substance Containing a Detectable Amount of
               Methamphetamine

The defendant is sentenced as provided in pages 1 through 5 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.

d     The defendant has been found not guilty on counts(s) .
d     Count(s) dismissed on the motion of the United States.

IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs,
and special assessments imposed by this judgment are fully paid.

Defendant's Soc. Sec. No.:     XXX-XX-XXXX                    01/29/2004
Defendant's Date of Birth:     06/20/1972
Defendant's USM No.:           26027-051
                                                              Date of Imposition of Judgment
Defendant's Residence Address:
1700 East 15th Street                                         /s/ M. Christina Armijo
Farmington, NM 87401
                                                              Signature of Judicial Officer

Defendant's Mailing Address (if different from residence):    Honorable M. Christina Armijo
                                                              United States District Judge
                                                              Name and Title of Judicial Officer

                                                              February 5, 2004
                                                              Date
AO 245B (Rev. 8/96) Sheet 2 - Imprisonment                                         Judgment - Page 2 of 5

Defendant:   Tiffany Robinson
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                                             IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a total term of 30 months.

This term is imposed as to each of Counts I and II; said terms will run concurrently.

c    The court makes the following recommendations to the Bureau of Prisons:

     The Court recommends that defendant be placed in the Bureau of Prisons, Intensive
     Confinement Center at Bryan, Texas.
     The Court recommends the defendant participate in the Bureau of Prisons 500 hour drug
     and alcohol treatment program.

c    The defendant is remanded to the custody of the United States Marshal.
d    The defendant shall surrender to the United States Marshal for this district:
     d    at a.m./p.m. on
     d    as notified by the United States Marshal.
d    The defendant shall surrender for service of sentence at the institution designated by the Bureau
     of Prisons:
     d    before 2 p.m. on
     d    as notified by the United States Marshal.
     d    as notified by the Probation or Pretrial Services Office.

                                               RETURN

I have executed this judgement as follows:




Defendant delivered on                                                 to
              at                                              , with a Certified copy of this judgment.



                                                   UNITED STATES MARSHAL



                                                   Deputy U.S. Marshal
AO 245B (Rev. 8/96) Sheet 3 - Supervised Release                                                        Judgment - Page 3 of 5

Defendant:   Tiffany Robinson
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                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of 3 years .

This term is imposed as to each of Counts I and II; said terms will run concurrently.

The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state, or local crime.
The defendant shall not illegally possess a controlled substance.
For offenses committed on or after September 13, 1994:
The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test
within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as directed by the probation
officer.
d     The above drug testing condition is suspended based on the courts determination that the defendant possesses a low
      risk of future substance abuse. (Check, if applicable.)
c     The defendant shall not possess a firearm or destructive device. (Check, if applicable).
If this judgment imposes a fine or a restitution obligation, it shall be a condition of probation that the defendant pay any
such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the
Schedule of Payments set forth in the Criminal Monetary Penalties sheet of this judgment.
The defendant shall comply with the standard conditions that have been adopted by this court (set forth below). The defendant
shall also comply with the additional conditions on the attached page (if indicated below).

                         STANDARD CONDITIONS OF SUPERVISION
1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the
      first five days of each month;
3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
      officer;
4)    the defendant shall support his or her dependents and meet other family responsibilities;
5)    the defendant shall obtain and maintain full time, legitimate employment, or attend a vocational or academic training
      program throughout the term of supervised release as directed by the probation officer;
6)    the defendant shall notify the probation officer ten days prior to any change in residence or employment;
7)    the defendant shall refrain from excessive use of alcohol;
8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)    the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person
      convicted of a felony unless granted permission to do so by the probation officer;
10)   the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
      confiscation of any contraband observed in plain view of the probation officer;
11)   the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
      enforcement officer;
12)   the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
      without the permission of the court;
13)   as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
      defendant's criminal record or personal history and shall permit the probation officer to make such notifications and
      to confirm the defendant's compliance with such notification requirement;
14)   the defendant shall not possess dangerous weapons.
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                        SPECIAL CONDITIONS OF SUPERVISION

The defendant must participate in and successfully complete a substance abuse treatment program which may
include drug testing, outpatient counseling, or residential placement.

The defendant must submit to a search of her person, property, or automobile under her control to ensure compliance
with all conditions of supervision. She must inform any residents that the premises may be subject to a search.

The defendant must refrain from the use and possession of alcohol and other forms of intoxicants. She must not
frequent places where alcohol is the primary item for sale.

The defendant must participate in and successfully complete a mental health treatment program, which may include
outpatient counseling, residential placement, or prescribed medication as approved by the probation officer.
AO 245B (Rev. 8/96) Sheet 5, Part A - Criminal Monetary Penalties                    Judgment - Page 5 of 5

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                            CRIMINAL MONETARY PENALTIES

The defendant shall pay the following total criminal monetary penalties in accordance with the schedule
of payments.

d    Remitted
                            Assessment                              Fine            Restitution
Totals:                          $200                               $-0-                $-0-

                                    SCHEDULE OF PAYMENTS

Payments shall be applied in the following order (1) assessment; (2) restitution; (3) fine principal; (4)
cost of prosecution; (5) interest; (6) penalties.

Payment of the total fine and other criminal monetary penalties shall be due as follows:

The defendant will receive credit for all payments previously made toward any criminal monetary
penalties imposed.

A c in full immediately; or
B d $ immediately, balance due (see special instructions
    regarding payment of criminal monetary penalties).

Special instructions regarding the payment of criminal monetary penalties:

Criminal monetary penalties are to be made payable by cashier's check, bank or postal money
order to the U.S.District Court Clerk, 333 Lomas Blvd. NW, Albuquerque, New Mexico 87102
unless otherwise noted by the court. Payments must include defendant's name, current address,
case number and type of payment.



Unless the court has expressly ordered otherwise in the special instructions above, if this judgment
imposes a period of imprisonment, payment of criminal monetary penalties shall be due during the
period of imprisonment. All criminal monetary penalty payments, except those payments made through
the Bureau of Prisons' Inmate Financial Responsibility Program, are to be made as directed by the
court, the probation officer, or the United States attorney.
